                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

  UNITED STATES OF AMERICA                           )
                                                     )           1:17-cr-69
  v.                                                 )
                                                     )           Judge Mattice/Lee
  BRANDON HORTON                                     )

  TO THE HONORABLE JUDGE OF THE ABOVE COURT:

            PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM



         Your petitioner, the United States of America, by Nancy Stallard Harr, United States

  Attorney for the Eastern District of Tennessee, respectfully shows:

                                                     I.

         That Brandon Horton, Offender ID #573737 is now in the custody of the Sheriff of the

  Hamilton County Jail, Chattanooga, Tennessee, pursuant to State of Tennessee charges.

                                                    II.

         That there is pending against the defendant Brandon Horton, in this District the above-

  captioned case, which is set for an Initial Appearance on October 18, 2017, at 2:00 p.m., or for

  his case to be otherwise disposed of upon said indictment heretofore returned against him, in the

  United States District Court for the Eastern District of Tennessee, at Chattanooga, Tennessee, and

  each day thereafter until said case is disposed of.

         WHEREFORE, petitioner prays that the Clerk of this Court be instructed to issue a writ of

  habeas corpus ad prosequendum to the Sheriff of the Hamilton County Jail, Chattanooga,

  Tennessee, commanding him to produce the said Brandon Horton before this Court at the time

  and place aforesaid for the purpose aforesaid, and that if the said Sheriff so elects, the United States




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  Marshal for the Eastern District of Tennessee, or any other duly authorized United States Marshal

  or Deputy United States Marshal, be ordered and directed to receive said Brandon Horton into

  his custody and possession at said Hamilton County Jail, Chattanooga, Tennessee, and under safe

  and secure conduct to have him before the Judge of our District Court at the time and place

  aforesaid for the purpose aforesaid, and to return him to said Sheriff of the Hamilton County Jail,

  Chattanooga, Tennessee, as aforesaid.


                                                       NANCY STALLARD HARR
                                                       UNITED STATES ATTORNEY


                                                   By s/ Terra L. Bay        _____
                                                     TERRA L. BAY
                                                     Assistant United States Attorney




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